           Case 1:21-cr-00268-CJN Document 108 Filed 08/04/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                             Criminal Action No. 1:21-cr-00268 (CJN)

JEFFREY MCKELLOP,

              Defendant.


                                             ORDER

       This matter is before the Court on Defendant’s Emergency Motion for Medical Treatment,

ECF No. 106, and for Pretrial Release, ECF No. 107. The Court held a hearing with all Parties,

including McKellop and the United States Marshals Service, on August 4, 2022. During the

hearing, McKellop represented (based on specific facts) that he is in need of an external dental

appointment. The representative of the Marshal’s service did not disagree that McKellop needs

an external dental appointment, but did state that such an appointment is not scheduled until August

9. The Court concludes that such an appointment should occur sooner, and accordingly, it is

       ORDERED that Defendant’s Emergency Motion for Medical Treatment, ECF No. 106, is

GRANTED. Mr. McKellop shall be transported to an external dental appointment no later than

close of business tomorrow, August 5, 2022. It is further

       ORDERED that Defendant’s Motion for Pretrial Release, ECF No. 107, is DENIED for

the reasons stated in previous hearings in this matter and on the record at the August 4, 2022,

conference.

       IT IS SO ORDERED.

DATE: August 4, 2022
                                                             CARL J. NICHOLS
                                                             United States District Judge


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